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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-14035-CR-MARTINEZ

  UNITED STATES OF AMERICA

  v.

  DANIEL SCOTT CROW,

                          Defendant.
  ___________________________________/

                     UNITED STATES’ SENTENCING MEMORANDUM

         Comes now the United States of America, by and through the undersigned Assistant United

  States Attorney, and hereby moves this Honorable Court to impose a sentence of 45 years, in

  accordance with the requirements of 18 U.S.C. § 3553.

                                         BACKGROUND

         As a result of a tip by a concerned citizen, members of Homeland Security Investigations

  (HSI) began an investigation that led to the arrest of the defendant for enticement of a minor and

  production of child pornography. Agents interviewed the victim and learned that she met the

  defendant aboard a cruise ship, where they exchanged contact information (PSI ¶ 7). After the

  victim turned 17, she sent the defendant sexually explicit photos and videos of herself at the

  defendant’s request, and engaged in sexual activity with the defendant (PSI ¶ 9-13).

         In a series of WhatsApp messages beginning in March 2020 between the victim and the

  defendant, the defendant gave the victim instructions of what to wear, and instructed her to send

  nude photos and videos (PSI ¶ 8). Then in May 2020, the defendant and the victim had a

  conversation about when the victim would turn 18, and began discussing sexual activities that they

  could participate in together (PSI ¶ 9). On May 18, 2020, the defendant directed the victim to
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  make plans to meet up at a hotel the following day (PSI ¶ 10).

          After some difficulty obtaining a hotel room, the defendant booked a room at the Hampton

  Inn & Suites Stuart – North for May 22, 2020, using the Priceline website and his personal debit

  card at check in. Hampton Inn & Suites records verified that the defendant checked in on May 22,

  2020 (PSI ¶¶ 11-12). That day, the defendant messaged the victim, and asked her to stop at CVS

  to purchase personal lubricant.

           A consensual search of the victim’s phone revealed a video recorded on May 22, 2020,

  that depicted the victim performing oral sex on the defendant while the victim was under the age

  of 18 and the defendant was 36 years old. The defendant later distributed this video to the victim.

          On April 30, 2022, the defendant returned to the United States, and was lawfully

  detained at the Philadelphia Airport pursuant to border search authority (PSI ¶ 15). While

  detained, agents seized an iPhone 12 found on the defendant’s person and sent it to

  Department of Homeland Security Investigations (HSI) Special Agent Brian Ray for

  examination (PSI ¶ 15). Agents also photocopied the defendant’s bank cards and identified

  the debit card the defendant provided at check in to the Hampton Inn and Suites on May 22,

  2020.

          HSI Special Agent Brian Ray lawfully examined the contents of the defendant’s

  iPhone 12, pursuant to border search authority, and discovered the previously described 13

  minute and 21 second video of Victim 1 performing oral sex on the defendant (PSI ¶ 16).

  Agents also found two other child sexual abuse videos depicting Victim 1 on the defendant’s

  phone (PSI ¶ 16).

          In addition to the chats and videos relating to Victim 1, Agent Ray also located chats

  between the defendant and another suspect (Suspect 2) in which they discuss Suspect 2’s



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  ability to obtain children for sex (PSI ¶ 23). The defendant asks Suspect 2 where to find the

  girls, how much it would cost, and if Suspect 2 had done it before. Thereafter, the defendant

  reiterates his interest in traveling to have sex. Suspect 2 asks if he means a 12 year old, and

  the defendant responds, “Any and all.” They specifically discuss seeking out children as

  young as five years old, and the defendant specifically asks if Suspect 2 would help him obtain

  a preschool aged male (PSI ¶ 24)

         The defendant also received child pornography from Suspect 2, and directed him to

  provide pornography of pre-pubescent minors, often chiding Suspect 2 that the subjects were

  “too old.” (PSI ¶ 21) In one instance, the defendant asks Suspect 2, “Have anything?” to

  which Suspect 2 replies, “I will see and send. Don’t have now. Have a lot of videos but

  adults. Immature ones.” The defendant replied, “Ugh boring.” Consequently, the defendant

  received and possessed over 600 images or videos of child pornography, which included

  content depicting prepubescent minors under the age of 12 and the sexual abuse of toddlers

  (PSI ¶ 25).

         On May 23, 2022, the defendant was arrested on a criminal complaint issued in this case.

  Then, on June 10, 2022, a federal grand jury in the Southern District of Florida returned an

  indictment charging the defendant with one count of enticement of a minor, in violation of Title

  18, United States Code, Section 2422(b); one count of production of child pornography, in

  violation of Title 18, United States Code, Sections 2251(a), (e), & (2); and one count of receipt of

  child pornography, in violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1)

  (DE 15). On August 12, 2022, the defendant plead guilty to counts one and two of the indictment

  (DE 27; DE 28).




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         The defendant’s sentencing hearing is scheduled for December 12, 2022 (DE 35). The PSI

  calculates the defendant’s advisory sentencing guideline range as 360 months to life based on a

  total offense level of 42 and criminal history category of I (PSI ¶¶ 62, 65, 108).

         On November 16, 2022, the defendant filed written objections to the PSI (DE 38), and a

  “motion for downward departure/downward variance” (DE 39), to which the government

  responded (DE 46; DE 49).

         The United States moves this Court to impose a sentence of 45 years, in accordance with

  the requirements of 18 U.S.C. § 3553, for the reasons set forth below.

                                              ANALYSIS

     A. The 3553(a) factors support a sentence of 45 years.

         When sentencing a defendant, the Court is required to “impose a sentence sufficient, but

  not greater than necessary” that complies with the purposes of the statute and takes into

  consideration the nature and circumstances of the offense, the history and characteristics of the

  defendant, the need for the sentence to reflect the seriousness of the offense, promote respect for

  the law, to provide just punishment, to afford adequate deterrence, to protect the public, to provide

  the defendant with adequate services, and which considers the kinds of sentences available, the

  sentencing ranges, pertinent policy, the need to avoid unwarranted sentencing disparities, and to

  provide restitution. 18 U.S.C. § 3553(a).

         i.      Nature and Circumstances of the Offense

         In this case, the defendant’s conduct speaks for itself. The defendant was a man in a

  position of trust, acting as a cruise entertainer responsible for the care and entertainment of

  children. He abused that trust when he developed a personal relationship with the victim in this

  case. He abused that trust when he continued the relationship. He abused that trust when he used



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  his age and experience to develop a relationship that led to prohibited sexual activity, activities

  that he filmed. As stated above, the victim’s cooperation with the defendant’s desires is of no

  moment, as the gap in age and experience precludes the victim’s ability to consent to the

  defendant’s requests.

             In addition to the defendant’s physical acts, the Court should consider the relevant evidence

  found in the defendant’s phone, including extensive WhatsApp conversations about the

  procurement and sexual abuse of children. While the defendant dismisses these chats as drug

  fueled fantasies, they offer a window into his mind, and provide a reason for his actions with the

  victim in this case (DE 39:12). Even if the Court were to dismiss the defendant’s explicitly stated

  desires to travel to have intercourse with children, his pattern of behavior in his chats: requesting

  videos of sex with children from a former co-worker, and complaining when the children depicted

  are “too old,” or “Younger- getting better,” demonstrates the defendant’s true interests. These

  texts are not fantasies, they are the direct, uncensored desires of the defendant, desires to view

  sexual acts performed on children. These chats demonstrate that the defendant’s actions with the

  victim in this case were not a one-time mistake, they were not fueled by drugs or alcohol, they

  were calculated decisions based on his own deeply held sexual desires. The defendant challenges

  the severity of the guidelines, arguing that they only apply to defendants who have “sexual

  relations with a true “child”” but he also dismisses the physical evidence that shows his desire for

  the very same conduct: sexual relations with a “true child.” (DE 39:11).

             The defendant engaged in heinous acts, seeking out children for his own personal

  gratification, which of itself, is sufficient to impose a 45-year sentence based on the 3553(a)

  factors.




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         ii.     History and Characteristics of the Defendant, Specific Deterrence, and the
                 Need to Protect the Public

         The defendant’s physical conduct, combined with his chats and child pornography

  collection, and his history of sexual abuse of minors paint a picture of a person predisposed towards

  an interest in minors. The defendant previously engaged in prohibited sexual conduct with an

  underage victim (victim 2) (PSI ¶¶ 19, 59), continued his course of conduct in this case by engaging

  in prohibited sexual conduct with the victim (victim 1), and searched for younger, more vulnerable

  victims with the help of his former colleague (PSI ¶¶ 7-14; 20-24). The defendant’s conduct paints

  a picture of his inner desires, corroborated by his text messages seeking out younger and younger

  child pornography, and his discussions about where and how to obtain sex with children (PSI ¶¶

  20-24). These desires are the reason that the defendant is a danger to society, and will remain a

  danger to society. His conduct demonstrates a pattern of predatory behavior, fueled by an inner

  desire for sexual contact with young, underage children.

         The defendant’s history demonstrates what he is capable of, but his intent shows where he

  is headed, and this roadmap of intent only leads to the further victimization of children if he does

  not receive a meaningful, substantial sentence. The defendant is motivated by his desire for sexual

  contact with young, underage children, evidenced by his conduct and text messages. In the face

  of such evidence, a downward variance is unwarranted, if for no other reason than the

  overwhelming need to protect the public from any future illicit acts by the defendant. The

  defendant’s inner illicit desires make him a danger to any child in his presence, demonstrated by

  his inability to curb his actions over at least a 12-year period (PSI ¶¶ 7-13, 19). Accordingly, any

  sentence the defendant receives must be sufficiently serious to mitigate the very real risk of re-

  offense, should the defendant have the opportunity. When the Court considers the nature and

  circumstances of this offense, against the characteristics of the defendant, his desires, his


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  proclivities, and then weighs those factors against the need to protect the public, and the need to

  provide adequate deterrence, it is abundantly clear that the guidelines accurately reflect the

  defendant’s conduct, the risk of re-offense, and the 3553(a) factors support a 45-year sentence.

          iii.    Need for the Sentence to Reflect the Seriousness of the Offense

          The defendant’s conduct in this case is particularly egregious, both because of his physical

  acts, and because he abused a position of trust to garner the victim’s trust, and to manipulate her

  into participating in an illicit relationship for over a year. He convinced the victim that a

  relationship between a 16-year-old girl and an adult was appropriate and consensual, and then used

  her for his own personal satisfaction. Moreover, the defendant engaged in a pattern of sexually

  exploitative behavior by forming a similar “relationship” twelve years earlier with victim 2 when

  she was 17 years old (PSI ¶ 19). Like the victim in this case, the defendant normalized his

  relationship with victim 2, receiving oral sex, taking nude photographs, exerting his control over

  her, pressing her to work out and to lose weight. Id.

          Through the defendant’s pattern of conduct, the Court can clearly see the beginning of the

  defendant’s illegal behavior and how it developed over twelve years. The defendant’s WhatsApp

  conversations offer a window into his future behavior, depicting a deep and abiding interest in sex

  with young, prepubescent minors. The defendant’s prurient interests dominate his life, and

  demonstrate that this offense was not an accident, nor a one-off instance of bad judgment. Instead,

  these were calculated acts, in which the defendant balanced the risk of criminal prosecution against

  the satisfaction of his illicit desires.

          Therefore, the sentence that the Court imposes should consider both the defendant’s

  physical acts, as well as his calculated decision to engage in the acts, with the knowledge that what

  he was doing was harmful and wrong. The sentence should be sufficiently serious for a person



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  who openly flaunts the law, and acts according to his own desires, regardless of the human and

  social cost he imposes on those around him.

         iv.     Provide Just Punishment and Avoid Sentencing Disparities

         While the defendant argues that a 15-year sentence would provide just punishment, the

  nature of the defendant’s conduct does not support such a low sentence that is woefully out of step

  with other, similarly situated defendants.

         Despite the defendant’s objections to the law, prohibited sexual activity with a person

  under 18 is illegal conduct, conduct the defendant admitted to committing, and for which the

  sentencing guidelines appropriately impose a harsh penalty. 18 U.S.C. § 2422(b) and (DE 27; 28).

  While the defendant challenges whether the victim in this case was a “true child,” numerous courts

  imposed guideline sentences for similar, or even lesser offense conduct (DE 39).

         In this case, the sentencing guidelines effectively account for defendant’s conduct, they

  include any relevant enhancements, and sufficiently encapsulate any minimum mandatory

  sentences, such that the defendant’s sentencing guideline range is not overstated with respect to

  his offense conduct. This is not an instance where the defendant was a minor participant in the

  crime, or tangentially related to its ultimate purpose. Instead, he was the architect and sole

  beneficiary of this scheme, designed to bend impressionable children to his desires.

         Additionally, numerous district courts have sentenced similarly situated offenders to

  sentences that would fall within the sentencing guideline range as calculated in this case. The

  defendant in United States v. Mobley, is perhaps the most similarly situated to the defendant in this

  case. In Mobley, the defendant was a youth pastor who abused his position of trust to prey on

  children. He ultimately pled guilty to four counts of production of visual depictions of sexual

  exploitation of minors and two counts of distribution of visual depictions of sexual exploitation of



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  minors for his role in filming and distributing his sexual acts with his 15-year-old victim. United

  States v. Mobley, 15CR14059 (SDFL 2015). The defense described the acts as consensual, but the

  Court disagreed, noting that “he did rape her because she is too young to give consent.” 1 The

  Court then sentenced Mobley to 45 years in prison. Like the victim in Mobley, the victim in this

  case could not consent to the defendant’s requests, as she was underage, and the 19-year gap

  between their ages creates a rebuttable presumption that the defendant exerted undue influence

  over the victim. U.S.S.G. § 2G1.3 n.3(b).

          Additionally, both Mobley, and the defendant in this case, used their positions of trust to

  perpetrate their crimes, requiring a sentence commensurate with such egregious behavior. Just as

  Mobley’s conduct warranted a sentence of 45 years, the defendant’s enticement and sexual abuse

  of the victim, as well as his exploitation of his position of trust as a cruise entertainer responsible

  for the care of children, mandates a 45-year sentence to avoid an unwarranted sentencing disparity.

          In United States v. VanGelder, U.S. District Court Judge Steven D. Merryday of the middle

  district of Florida sentenced the defendant to 30 years for attempted enticement, despite his having

  no physical contact with a child. United States v. VanGelder, 21CR201 (MDFL 2021). The

  defendant was arrested after communicating with an undercover FBI agent in an attempt to have

  sex with the undercover agent’s fictional child. During the conversations, the defendant made

  suggestions about how he could carry out the act, much like the conversations the defendant had

  with his former co-worker in which he describes the ways he would perform prohibited sexual acts

  on children his co-worker procured.

          In United States v. Antczak, the defendant received a similar sentence to the defendant in

  VanGelder. United States v. Antczak, 16CR60264 (SDFL 2016). Antczak contacted an undercover


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   https://archive.tcpalm.com/news/crime/martin-county/former-youth-pastor-at-stuarts-grace-place-gets-45-years-in-
  child-porn-case-2e03adc2-cd4f-4a4a-e053--379242011.html/ (May 12, 2016).

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   agent in an online forum and began chatting with the agent about meeting up with him and his

   minor daughter to have sex. Antczak discussed the age of the child and provided a graphic

   description of what he intended to do to the child, and while his conduct was limited to text

   messages with an undercover agent, he also received a 30-year prison sentence.

          Finally, in United States v. Sibley, the defendant chatted with minors while playing video

   games, enticing them to send sexually explicit pictures and videos, and on two occasions traveled

   with the hope of having sex with a minor. United States v. Sibley, 17CR53 (NDIA 2017). U.S.

   District Court Chief Judge Leonard T. Strand sentenced Sibley to 30 years in prison.

          The defendant’s conduct in this case is strikingly similar to the defendants in Mobley,

   VanGelder, Antczak, and Sibley, and despite the defendant’s minimization of his conduct, a 15-

   year sentence would actually create a sentencing disparity as compared to these similarly situated

   defendants. However, unlike VanGelder, Antczak, and Sibley, who only interacted with their

   victims or the parents of their victims, online, the defendant acted on his fantasies, physically

   victimizing those around him, in addition to seeking out videos on the internet. Therefore, the

   defendant’s conduct, in comparison to other similar, and arguably less aggressive defendants who

   each received 30-year sentences, demonstrates that the sentencing guidelines are appropriate and

   a 45-year sentence, consistent with the sentence in Mobley, is necessary in this case to ensure just

   punishment and to avoid unnecessary sentencing disparities among similarly situated defendants.




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                                             CONCLUSION

          Based on the foregoing, the United States respectfully requests the Court to impose a

   sentence of 45 years, in accordance with the requirements of 18 U.S.C. § 3553.



                                                         Respectfully submitted,
                                                         JUAN ANTONIO GONZALEZ
                                                         UNITED STATES ATTORNEY

                                                  By:    /s/ Christopher H. Hudock
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on December 9, 2022, a copy of the foregoing was filed electronically.

   Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

   indicated on the electronic filing receipt. All other parties will be served by either regular U.S.

   mail or inter-office delivery.

                                                         /s/Christopher H. Hudock____ ___
                                                         Christopher H. Hudock
                                                         Assistant United States Attorney




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